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Exhibit A

(Mlive.com Article of July 20, 2018)
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GRAND RAPIDS

Body found in Lake Michigan believed to be
kayaker who drowned in 2016

Published: Jul. 20, 2018, 7:09 p.m.

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Tyler Spink, 21, went missing near Platte River Monday, Sept. 5, 2016 while kayaking. (Courtesy photo |

Spink family)
@Oxaa

By Justin P. Hicks | jhicks3@mlive.com

BENZIE COUNTY, MI -- It's been almost two years since Tyler Lee Spink, 21, drowned in a
kayaking accident on Lake Michigan.

For 22 months, his family held out hope that his body would be recovered. Then on
Thursday, July 19, they got the call they've been waiting for.

A Wisconsin-based volunteer organization called Bruce's Legacy located a body 180 feet

below the water's surface in Platte Bay of Lake Michigan. The body was recovered by a
mutual aid dive team, and has been transported to the Benzie County Medical Examiner

for identification.

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The body had not yet been identified as of Friday afternoon, but Benzie County Sheriff Ted
Schendel said the body was wearing black swim shorts, which matched the shorts Spink
was last seen wearing.

"It's amazing," Schendel said. "I spoke with the family last night. Obviously, this is a
tragedy, but they found relief. They're still waiting for positive identification but just

knowing they have their son back is closure and they can give him a proper burial."

Spink was last seen kayaking with a friend on Sept. 5, 2016, when the Labor Day trip took
a turn. Both kayaks capsized in the waters of Platte Bay, leaving the two men struggling in
the water.

A fisherman in the area heard screaming and found two capsized kayaks. He rescued

Spink's friend, but was unable to locate Spink.

The U.S. Coast Guard said it searched for about 28 hours after the kayaker was first
reported missing. Schendel said his deputies and Michigan State Police called off their

searches after about three days.

About a month after Spink went missing, his mother contacted Keith Cormican, 58, the
founder of Bruce's Legacy. She requested assistance from the voluntary organization to
help recover her son's body.

"With this case especially, the mother, Kelly, kept us going," Cormican said. "She just
wasn't giving up. She's the most driven person I've ever dealt with of wanting her kid off
the bottom of the lake. Most families would have given up by now, but she was so sweet

and so driven, we felt tied to her.
"We felt her pain and that kept us going."

Cormican said he and a group of volunteers, including his partner Beth Darst, and a
Muskegon couple, Drew and Kathy Morris, spent a total of 18 days on the lake searching

over the last 21 months.

Searches were organized when weather permitted, Cormican said. The search efforts
required waves to be less than 2 feet high, and some days the weather kept them sitting

ashore waiting for hours for the waters to calm down.

Each search lasted about 10-14 hours, and was scheduled around the crew's full-time work
schedules. For Cormican and Darst, that also meant 11-hour drives from their hometown

of Black River Falls, Wisconsin.
i Case 1°23-™m|,00230-R5K BSE. Ng 21-1, PagelD.322 Filed 03/27/24 Page 5of5
You set up a grid area and methodically we travel around 4 mph with a sonar in the water
and we cover every inch of the area," Cormican said. "Sometimes you cover each spot two

or three times at different angles. It's very tedious."

The crew uses a 4-foot, 70-pound sonar torpedo to search the lake's floor, and a remote-
operated robot with sonar and a mechanical arm to recover objects when found. Cromican

estimated he's invested about $230,000 between his boat and equipment.

A Facebook fundraiser collected $2,000 to help the search group cover fuel and hotel

expenses along the way in the search for Spink.

“We get some help from outside donors and that's how we're able to keep surviving,"
Cormican said. "We're not rich by any means. I have $2,500 a month payments to keep this

equipment plus all the maintenance and fuel.
"It's challenging but I hope it keeps going.”

On Thursday, Schendel said he received a call from Cormican that a body was located 180
feet below the surface, beneath a submerged log. The search crew used its sonar

equipment to pull the body within 15 feet of the surface.

From there, the Grand Traverse Mutual Dive Team responded to Frankfort and assisted in

recovering the body.

Schendel said he hopes the medical examiner will have a positive ID of the body by early

next week.

The organization Bruce's Legacy is named after Cormican's older brother, Bruce, who was
a firefighter in Black River Falls, Wisconsin. He was 40 years old in 1995 when he

died while attempting to recover the body of a drowning victim.

"Ever since then, I switched gears and got training to be able to train public safety divers

on how to do it safely," Cormican said.

Bruce's Legacy was started in 2013. The crew has now recovered 26 bodies, including nine
last year. One 2017 recovery was of a body that had been missing in a California lake for 16

years, he said.

With Spink's body likely found, Cormican said he's preparing to begin another search on
the other side of Lake Michigan for a man who has been missing for a couple weeks.

"It's just amazing,” Schendel said. "They're the heroes in this. These guys are experts."
